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                         Exhibit A
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                                                                                                     Transmittal Number: 23891224
Notice of Service of Process                                                                            Date Processed: 10/08/2021

Primary Contact:           Trish Partin
                           Acrisure, LLC
                           100 Ottawa Ave SW
                           Grand Rapids, MI 49503-5087

Electronic copy provided to:                   Alyssa Fagner
                                               Tabatha Greer
                                               Jamie Fortney
                                               Marcy Hoholik
                                               Lisa Lawton

Entity:                                       Acrisure Holdings, Inc.
                                              Entity ID Number 3189503
Entity Served:                                Acrisure Holdings, Inc.
Title of Action:                              William Hix vs. Acrisure Holdings, Inc.
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Others
Court/Agency:                                 Fulton County Superior Court, GA
Case/Reference No:                            2021CV355199
Jurisdiction Served:                          Georgia
Date Served on CSC:                           10/05/2021
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                                                           of 20County Superior Court
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